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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA


vs.                                                     CASE NO. 1:08cr32-SPM/AK


YOSNEL MONTEJO-GARCIA,

        Defendant.

                                     /


                                           ORDER

        This cause is before the Court on Defendant’s motion for transcript of pretrial

detention hearing. Doc. 136. Having carefully considered the matter, the Court finds

the motion is well taken. However, Defendant will also be required to pay for a copy of

the disc which will be provided to the Court Reporter for transcription.

        Accordingly, it is ORDERED:

        That the motion for transcript, Doc. 136, is GRANTED;

        That, no later than November 20, 2008, counsel for Defendant shall contact the

undersigned’s courtroom deputy, 352-380-2400, to make arrangements for payment of

the disc;

        That upon receipt of payment, the Clerk shall immediately provide the disc to the

Court Reporter;
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       That counsel for Defendant shall contact the Court Reporter, Christine

Bordenave, 352-380-2758, to make arrangements for payment of the transcript;

       That upon making satisfactory payment arrangements with counsel, the Court

Reporter shall provide a copy of the transcript to him and file the transcript under seal.

She shall retain the disc in her possession.

       DONE AND ORDERED this 5th day of November, 2008.




                                          s/ A. KORNBLUM
                                          ALLAN KORNBLUM
                                          UNITED STATES MAGISTRATE JUDGE
